       Case 4:21-cv-00270-AW-MJF Document 21 Filed 08/31/21 Page 1 of 18




                    IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF FLORIDA
                            TALLAHASSEE DIVISION

WEST FLAGLER ASSOCIATES, LTD.,
a Florida Limited Partnership d/b/a
MAGIC CITY CASINO, and
BONITA-FORT MYERS
CORPORATION, a Florida
Corporation d/b/a
BONITA SPRINGS POKER ROOM,
Plaintiffs,                                         Case 4:21-cv-00270-AW-MJF

v.

RONALD DION DESANTIS, in his
official capacity as Governor of the
State of Florida, and JULIE IMANUEL
BROWN, in her official capacity as Secretary
of the Florida Department of Business
and Professional Regulation,

Defendants.


 LIMITED INTERVENOR SEMINOLE TRIBE OF FLORIDA'S MOTION
  TO DISMISS FOR FAILURE TO JOIN AN INDISPENSABLE PARTY
                AND MEMORANDUM OF LAW

        Limited Intervenor Seminole Tribe of Florida (the "Tribe"), pursuant to

Federal Rules of Civil Procedure 12(b)(7) and 19, hereby moves to dismiss Plaintiffs'




ACTIVE 59467899v2
       Case 4:21-cv-00270-AW-MJF Document 21 Filed 08/31/21 Page 2 of 18




Complaint [DOC. 1] in the above-captioned matter with prejudice for failure to join

an indispensable party. 1

I.      INTRODUCTION

        Plaintiffs challenge the 2021 gaming compact ("2021 Compact") entered into

between the Tribe and the State of Florida under the Indian Gaming Regulatory Act

as "unauthorized or otherwise unlawful under Federal law pursuant to the

Supremacy Clause of the United States Constitution." Pls.' Compl. [DOC. 1] ¶ 1.

As this Court held in PPI v. Kempthorne, the Tribe is a necessary and indispensable

party to a suit challenging the legality of its gaming compact with the State. No. 08-

cv-248, 2008 WL 2705431, at *4 (N.D. Fla. July 8, 2008). Because the Tribe cannot

be joined due to its immunity, the case must be dismissed. Id.

II.     ARGUMENT

         In PPI v. Kempthorne, P.P.I., Inc., a pari-mutuel company, sued the

Secretary of the Interior and the Florida Governor for their approval of the gaming

compact between the Tribe and the State. No. 08-cv-248, 2008 WL 2705431 (N.D.

Fla. July 8, 2008). Like Plaintiffs in the present case, P.P.I. claimed that the gaming


1
  The Tribe has moved to intervene in this case for the sole and limited purpose of
filing this motion to dismiss pursuant to Fed. R. Civ. P. 19 and has expressly reserved
its immunity from suit. The only manner in which the Tribe may lawfully waive its
immunity is by resolution duly enacted by the Tribal Council of the Seminole Tribe
of Florida sitting in legal session. See Seminole Tribe of Florida Ordinance C-01-
95 as amended by Ordinance 84-01(Exhibits A, B). No such resolution has been
adopted.
                                          2
ACTIVE 59467899v2
       Case 4:21-cv-00270-AW-MJF Document 21 Filed 08/31/21 Page 3 of 18




compact entered into by the Tribe and the State under the Indian Gaming Regulatory

Act was invalid to the extent it authorized certain games that P.P.I. claimed were

illegal under Florida law. Id. at *1.

        This court held that the Seminole Tribe was an indispensable party to the

lawsuit that could not be joined due to its immunity from suit. The court relied on

the fact that "[t]he compact between the Seminole Tribe and the State of Florida is a

contract," and that "[w]hen a lawsuit seeks to invalidate a contract, the general rule

is that all parties to the contract must be joined." Id. at *3 (citations omitted). PPI's

holding in this regard is consistent with the longstanding rule that all parties to an

agreement like a compact are not only "necessary" but also "indispensable " in

actions in which claims are made regarding the validity of that agreement. "No

procedural principle is more deeply imbedded in the common law than that, in an

action to set aside a lease or a contract, all parties who may be affected by the

determination of the action are indispensable." Lomayaktewa v. Hathaway, 520 F.2d

1324, 1325 (9th Cir. 1975), cert. denied, 425 U.S. 903 (1976) (emphasis added)

(citing Broussard v. Columbia Gulf Transmission Co., 398 F.2d 885 (5th Cir. 1968);

Keegan v. Humble Oil & Refining Co., 155 F.2d 971 (5th Cir. 1946); Tucker v. Nat'l

Linen Serv. Corp., 200 F.2d 858 (5th Cir. 1953)); see also, e.g., Enter. Mgmt.

Consultants, Inc. v. United States ex rel. Hodel, 883 F.2d 890, 894 (10th Cir. 1989);

Jicarilla Apache Tribe v. Hodel, 821 F.2d 537, 540 (10th Cir. 1987); Fluent v.

                                           3
ACTIVE 59467899v2
       Case 4:21-cv-00270-AW-MJF Document 21 Filed 08/31/21 Page 4 of 18




Salamanca Indian Lease Auth., 928 F.2d 542, 547 (2nd Cir. 1991). "The general

rule is that joint obligees (the parties to a contract whom an obligation is owed) are

not only necessary, but indispensable." 7C Charles A. Wright, Arthur R. Miller, and

Mary Kay Kane, Federal Practice and Procedure § 1613 (3d ed. 2007); see also, e.g.,

Harrell & Sumner Contracting Co., Inc. v. Peabody Peterson Co., 546 F.2d 1227,

1228-29 (5th Cir. 1977) ("The rule generally applied by federal courts is where two

or more parties are joint obligees, they are indispensable parties in an action for

enforcement of that obligation.")

        The court held that the Tribe was a necessary party to the case under Rule

19(a) "because it has an interest in the compact and it is conducting gaming activities

that PPI seeks to invalidate." PPI, 2008 WL 2705431, at *3. The court also noted

that P.P.I could not join the Tribe due to its sovereign immunity, id. at *3, and that

dismissal of the case would be appropriate if the Tribe were "indispensable." Id.

        According to this court, a party is considered indispensable if the case cannot

proceed "in equity and good conscience" without it. Id. at *4. In order to make that

determination, the "Court should consider (1) prejudice to the absent party, (2) the

extent the prejudice can be minimized by shaping the judgment to protect the absent

party's interests, (3) whether the judgment will be adequate, and (4) the existence of

alternate remedies for the plaintiff if the action is dismissed.” Id. (citing Fed. R. Civ.

P. 19(b)). The court found that the United States could not adequately represent the

                                            4
ACTIVE 59467899v2
       Case 4:21-cv-00270-AW-MJF Document 21 Filed 08/31/21 Page 5 of 18




interests of the Tribe, even if their interests in the validity of the Compact were

somewhat aligned. As the court explained:

        Identity of interest, however, is not solely determinative in the Eleventh
        Circuit of whether a party is indispensable. American Safety Cas. Ins.
        Co. v. Condor Associates, Ltd., 129 Fed. Appx. 540, 542 (11th Cir.
        Apr.11, 2005). The focus instead is on the prejudice that would be
        suffered by the Seminole Tribe by a judgment declaring the compact
        invalid. Id.; Ranger Ins. Co. v. United Hous. of N.M., Inc., 488 F.2d
        682, 683 (5th Cir.1974). As a practical matter, such a judgment would
        impair or impede the Seminole Tribe's ability to protect its independent
        interest in the compact, even if the judgment is not legally binding on
        the Tribe. Doty v. St. Mary Parish Land Co., 598 F.2d 885, 887 (5th
        Cir.1979). There remains, moreover, the Seminole Tribe's interest “in
        its sovereign right not to have its legal duties judicially determined
        without consent.” Enterprise Mgmt. Consultants, Inc. v. United States
        ex rel, Hodel, 883 F.2d 890, 894 (10th Cir.1989). This interest cannot
        be protected by the United States. Id.

Id. at * 4. The court concluded that "[u]nder the Rule 19(b) test, the Seminole Tribe

is an indispensable party to this litigation." Id. Even though there was no alternate

forum for P.P.I. to bring its case, in equity and good conscience, the case could not

proceed without the Tribe, and as a result the court denied P.P.I.'s motion for a

preliminary injunction. Id.

        The present case must be dismissed for the same reasons. Plaintiffs in this

case are pari-mutuel operators like P.P.I. seeking a declaratory judgment from this

court that the 2021 Compact between the Tribe and the State is invalid. The Tribe

has the same level of interest in the validity of 2021 Compact as it did in the 2007

Compact. The Tribe is projected to realize profits in the hundreds of millions of

                                            5
ACTIVE 59467899v2
       Case 4:21-cv-00270-AW-MJF Document 21 Filed 08/31/21 Page 6 of 18




dollars from sports betting over the life of the 2021 Compact and those profits would

be lost if the challenged provisions are invalidated. As a result, the Tribe is a

necessary party "because it has an interest in the compact and it is conducting gaming

activities that [the Plaintiff] seeks to invalidate." PPI, 2008 WL 2705431, at *3.

        The Tribe cannot be joined here due to its sovereign immunity, which

Plaintiffs already have recognized:

        Plaintiffs would have added the Tribe as a party defendant; however,
        Indian tribes generally enjoy sovereign immunity from unconsented
        suit. See Michigan v. Bay Mills Indian Cmty., 572 U.S. 782, 788 (2014)
        (“Among the core aspects of sovereignty that tribes possess—subject,
        again, to congressional action—is the ‘common-law immunity from
        suit traditionally enjoyed by sovereign powers.’”).

Pls.' Compl. [DOC. 1] ¶ 166, n.18. The Tribe is indispensable under the four

factor Rule 19(b) test for the same reasons in PPI v. Kempthorne.

        The first factor, prejudice to the parties, includes prejudice to the absent party.

Am. Greyhound Racing, Inc. v. Hull, 305 F.3d 1015, 1024 (9th Cir. 2002); Dewberry

v. Kulongoski, 406 F. Supp. 2d 1136, 1148 (D. Or. 2005). Because the Tribe has a

legally protected interest in the validity of the 2021 Compact, that interest will be

irrevocably impaired if this case is adjudicated in the Tribe's absence.              Am.

Greyhound, 305 F.3d at 1024-25; Dewberry, 406 F. Supp. 2d at 1148; see also, e.g.

Lac du Flambeau Band of Lake Superior Chippewa Indians v. Norton, 327 F. Supp.

2d 995, 1001 (W.D. Wis. 2004) ("Any judgment touching on the validity of the


                                             6
ACTIVE 59467899v2
       Case 4:21-cv-00270-AW-MJF Document 21 Filed 08/31/21 Page 7 of 18




[gaming] compact would be prejudicial to the Nation and to the state because of their

strong interests as parties to the compact at issue.").

        The second Rule 19(b) factor asks whether relief in this case can be tailored

in such a way as to lessen the prejudice. It cannot. Plaintiffs' entire case is based on

declaring a major portion of the 2021 Compact unlawful. A judgment in favor of

Plaintiffs would "impair or impede the Seminole Tribe's ability to protect its

independent interest in the compact, even if the judgment is not legally binding on

the Tribe," and the Tribe retains the sovereign right not to have its legal duties

determined without its consent. PPI, 2008 WL 2705431, at *4. In addition, any

relief fashioned in this case "would not protect the tribe[] from other potential effects

of the declaration that the gaming conducted by the tribe[] pursuant to             [its]

compact[] is illegal." Am. Greyhound, 305 F.3d at 1025.

        As to the third factor, because Plaintiffs' case seeks to invalidate the 2021

Compact, no adequate remedy may be fashioned in the Tribe's absence. The Tribe

has a sovereign right not to have its rights adjudicated in its absence. PPI, 2008 WL

2705431, at *4.

        Finally, although there is no adequate forum available to Plaintiffs to bring

this case in the absence of a waiver of the Tribe's immunity, that factor does not

outweigh the others. As courts have ruled time and again, "this result is a common

consequence of sovereign immunity, and the tribes' interest in maintaining their

                                           7
ACTIVE 59467899v2
       Case 4:21-cv-00270-AW-MJF Document 21 Filed 08/31/21 Page 8 of 18




sovereign immunity outweighs the plaintiffs' interest in litigating their claims."

Dewberry, 406 F. Supp. 2d at 1148 (quoting Am. Greyhound, 305 F.3d at 1025); see

also Pit River Home & Agric. Coop. Ass'n v. United States, 30 F.3d 1088, 1102-03

(9th Cir. 1994). The courts have "regularly held that the tribal interest in immunity

overcomes the lack of an alternative remedy or forum for the plaintiffs." Am.

Greyhound, 305 F.3d at 1025; see also, e.g., Lac du Flambeau, 327 F. Supp. 2d at

1001 (stating that "[t]he principle of sovereign immunity overrides plaintiffs'

interests in suing") Confederated Tribes of the Chehalis Reservation v. Lujan, 928

F.2d 1496, 1500 (9th Cir. 1991) (same); Fluent, 928 F.2d at 547 (same); Enter.

Mgmt. Consultants, 883 F.2d at 894 (same).

                              III.   CONCLUSION

        For the foregoing reasons, the Complaint must be dismissed.



                       CERTIFICATE OF CONFERENCE

        The undersigned has attempted unsuccessfully to communicate with opposing

counsel and assumes that Plaintiffs do not consent to this motion.

 /S/ Joseph H. Webster                        /S/ Barry Richard
 Joseph H. Webster                            Barry Richard
 D.C. Bar No. 448458                          Florida Bar Number 0105599
 Hobbs Straus Dean & Walker, LLP              Greenberg Traurig, P.A.
 1899 L Street NW, Suite 1200                 101 East College Avenue
 Washington, DC 20037                         Tallahassee, FL 32301
 Telephone (202) 822-8282                     Telephone (850) 222-6891
 jwebster@hobbsstraus.com                     Facsimile (850) 681-0207
                                          8
ACTIVE 59467899v2
       Case 4:21-cv-00270-AW-MJF Document 21 Filed 08/31/21 Page 9 of 18




                                             richardb@gtlaw.com
 Elliott Milhollin                           greenel@gtlaw.com
 D.C. Bar No. 474322                         flservice@gtlaw.com
 Hobbs Straus Dean & Walker, LLP
 1899 L Street NW, Suite 1200                Attorneys for Intervenor,
 Washington, DC 20037                        Seminole Tribe of Florida
 Telephone (202) 822-8282
 emilhollin@hobbsstraus.com


                         CERTIFICATE OF SERVICE

        This document was filed and served via the CM/ECF ePortal to the

following on August 31, 2021:


Raquel A. Rodriguez
Sheila Oretsky
Sandra Ramirez
BUCHANAN INGERSOLL & ROONEY PC
2 South Biscayne Blvd, Suite 1500
Miami, FL 33130
raquel.rodriguez@bipc.com
sheila.oretsky@bipc.com
sandra.ramirez@bipc.com

Hala Sandridge
401 E. Jackson Street, Suite 2400
Tampa, FL 33602
hala.sandridge@bipc.com

Sydney Rochelle Normil
501 Grant St, St 200
Pittsburgh, PA 15219
sydney.normil@bipc.com

Attorneys for Plaintiffs West Flagler
Associates, Ltd. and Bonita Fort-Myers
Corporation
                                         9
ACTIVE 59467899v2
      Case 4:21-cv-00270-AW-MJF Document 21 Filed 08/31/21 Page 10 of 18




Raymond F. Treadwell
Chief Deputy General Counsel
EXECUTIVE OFFICE OF THE GOVERNOR
Office of General Counsel
The Capitol, PL-5
400 South Monroe Street
Tallahassee, FL 32399
Phone: (850) 717-9310
Facsimile: (850) 488-9810
Ray.Treadwell@eog.myflorida.com
Gov.Legal@eog.myflorida.com

David Axelman
General Counsel
FLORIDA DEPARTMENT OF BUSINESS AND PROFESSIONAL REGULATION
Office of General Counsel
2601 Blair Stone Road
Tallahassee, FL 32399
Phone: (850) 717-1241
David.Axelman@myfloridalicense.com


Counsel for Defendants Ron
DeSantis, in his official capacity as
Governor of the State of Florida, and
Julie Brown, in her official capacity
as Secretary of the Florida
Department of Business and
Professional Regulation




                                        10
ACTIVE 59467899v2
Case 4:21-cv-00270-AW-MJF Document 21 Filed 08/31/21 Page 11 of 18




                                   EXHIBIT A
Case 4:21-cv-00270-AW-MJF Document 21 Filed 08/31/21 Page 12 of 18
Case 4:21-cv-00270-AW-MJF Document 21 Filed 08/31/21 Page 13 of 18
Case 4:21-cv-00270-AW-MJF Document 21 Filed 08/31/21 Page 14 of 18
Case 4:21-cv-00270-AW-MJF Document 21 Filed 08/31/21 Page 15 of 18
Case 4:21-cv-00270-AW-MJF Document 21 Filed 08/31/21 Page 16 of 18
        Case 4:21-cv-00270-AW-MJF Document 21 Filed 08/31/21 Page 17 of 18




 RE :   AMENDMENT TO ORDINANCE NO. C-01-95 OF THE SEMINOLE TRIBE OF
        FLORIDA RELATING TO ITS IMMUNITY FROM SUIT UNDER THE DOCTRINE OF
        TRIBAL SOVEREIGN IMMUNITY ; THE APPLICABILITY OF SUCH RVVIMUNITY TO
        TRIBAL OFFICIALS, EMPLOYEES, AND AUTHORIZED TRIBAL AGENTS ;
        EXCLUSIVE METHOD FOR TRIBAL WAIVER OF TRIBAL SOVEREIGN IMMUNITY
        AND RENUNCIATION OF ALL PRIOR NON-CONFOMRING ACTS PURPORTING TO
        WAIVE TRIBAL SOVEREIGN IMMUNITY AS TO THE SEMINOLE TRIBE OF
        FLORIDA AND ITS TRIBAL OFFICIALS, EMPLOYEES AND AUTHORIZED AGENTS

                                                              SEMINOLE TRIBE OF FLORIDA
                                                              HOLLYWOOD, FLORIDA

RESOLUTION NO.: C-84-01

WHEREAS, the Seminole Tribe of Florida is an organized Indian Tribe as defined in Section 16
         ofthe Act of June 18, 1934, as amended ; and

WHEREAS,       on or about March 16, 1995, the Tribal Council ofthe Seminole Tribe of Florida duly
               enacted Ordinance No . C-01-95 setting forth the specific manner and method in
               which the Tribal Council ofthe Seminole Tribe ofFlorida could waive its immunity
               and the immunity ofany of its subordinate economic or governmental units or any
               Tribal official, employee or other agent for acts arising out of any act committed
               within the course- and scope oftheir agency or authority ; and

WHEREAS,       the Ordinance provided that any action brought against the Seminole Tribe ofFlorida,
               any its subordinate economic or governmental units or any Tribal official, employee
               or other agent for any act committed within the course and scope of their agency or
               authority could only be brought in the United States District Court for the Southern
               District of Florida or the Circuit Court ofthe 17'h Judicial Circuit in and for Broward
               County, Florida; and

WHEREAS,       the Seminole Tribe of Florida has become increasingly involved in business ventures
               and transactions throughout the United States and the world and the limitation of
               venue provision contained in Ordinance No. C-01-95 has had a negative impact and
               effect on the same.

NOW THEREFORE BE IT RESOLVED: that the following provision from Ordinance No. C-01-95
shall be deemed deleted from the Ordinance and shall have no further effect :

BE IT FURTHER RESOLVED: that without waiving tribal sovereign immunity or consenting to
any suit in any respect, any action brought against the Seminole Tribe of Florida, any of its
subordinate economic or governmental units or any tribal official, employee or other agent for any
act arising out of any act committed within the course and scope of their agency within that degree


                                        EXHIBIT B
         Case 4:21-cv-00270-AW-MJF Document 21 Filed 08/31/21 Page 18 of 18




 RE :    AMENDMENT TO ORDINANCE NO . C-01-95 OF THE SEMINOLE TRIBE OF
         FLORIDA RELATING TO ITS IMMUNITY FROM SUIT UNDER THE DOCTRINE OF
         TRIBAL SOVEREIGN EVEVIUNITY; THE APPLICABILITY OF SUCH IMMUNITY TO
         TRIBAL OFFICIALS, EMPLOYEES, AND AUTHORIZED TRIBAL AGENTS ;
         EXCLUSIVE METHOD FOR TRIBAL WAIVER OF TRIBAL SOVEREIGN IIVIMUNITY
         AND RENUNCIATION OF ALL PRIOR NON-CONFOMRING ACTS PURPORTING TO
         WANE TRIBAL SOVEREIGN IMMUNITY AS TO THE SEMINOLE TRIBE OF
         FLORIDA AND ITS TRIBAL OFFICIALS, EMPLOYEES AND AUTHORIZED AGENTS

RESOLUTION NO. : C-84-01

Page 2


of authority which the Seminole Tribe ofFlorida is capable ofbestowing upon such tribal official,
employee or authorized agent as a matter of federal, constitutional or tribal law may only be venued
in the United States District Court for the Southern District ofFlorida or the Circuit Court of the 17t '
Judicial Circuit in and for Broward County, Florida ; and

BE IT FURTHER RESOLVED : that this resolution is hereby adopted after motion made by Max
B . Osceola, Jr. seconded by David R. Cypress and a roll call vote as follows:

         Chairman James E. Billie . . .. . . . ........ .. .. .. . . . . .... . . . .. ..... . . . ...... . . ...... . . .AYE
         Vice Chairman Mitchell Cypress. . . . . . ....... .. . .. ...... .. . .. ... .. . . . ..... .. ....AYE
         Council Representative David R. Cypress . . . . ........ . .. . ..... . . ....... . ...AYE
         Council Representative Jack Smith, Jr.. . . .. .... .. . . . ....... . .. ..... . . . . ..... .AYE
         Council Representative Max B. Osceola, Jr.. . . ...... . .. ....... . ........ . .. AYE

DONE THIS 8t' day of March, 2001, at the regular meeting ofthe Tribal Council, duly convened
a Hollywood, Florida, with a quorum being present by a vote of 5 for, 0 against, and 0 abstentions .




ATTEST :



                                                                                    APPROVED BY:
Secretary/Treasurer                          //                                     BUREAU OF INDIAN AFFAIRS
TRIBAL COUNCIL

                                                                                    By:
                                                                                    As its : Area Director
